Case 2:18-cv-00230-MWF-AS Document 46 Filed 12/20/18 Page 1 of 28 Page ID #:387




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  11
  12                        UNITED STATES DISTRICT COURT
  13          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  14
     Netflix Studios, LLC; Amazon Content      Case No. 2:18-CV-00230-MWF (AS)
  15 Services, LLC; Columbia Pictures
     Industries, Inc.; Disney Enterprises,     APPLICATION FOR TEMPORARY
  16 Inc.; Paramount Pictures Corporation;     RESTRAINING ORDER;
     Twentieth Century Fox Film                MEMORANDUM OF POINTS AND
  17 Corporation; Universal City Studios       AUTHORITIES IN SUPPORT
     Productions LLLP; Warner Bros.            THEREOF
  18 Entertainment Inc.
  19              Plaintiffs,                  Ctrm: 5A (Hon. Michael W. Fitzgerald)
                                               Filed concurrently:
  20        vs.                                 Declaration of Matthew Fulton
                                                Declaration of David Kaplan
  21 Dragon Media Inc. d/b/a Dragon Box;        Declaration of Michael B. DeSanctis
     Paul Christoforo; Jeff Williams.           [Proposed] Temporary Restraining
  22                                           Order and Order to Show Cause Why
                  Defendants.
  23                                           Preliminary Injunction Should Not Issue

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                                PLAINTIFFS’ APPLICATION FOR TEMPORARY RESTRAINING ORDER
                                                            CASE NO. 2:18-CV-00230 - MWF (AS)
Case 2:18-cv-00230-MWF-AS Document 46 Filed 12/20/18 Page 2 of 28 Page ID #:388




   1        Plaintiffs Netflix Studios, LLC; Amazon Content Services, LLC; Columbia
   2 Pictures Industries, Inc.; Disney Enterprises, Inc.; Paramount Pictures Corporation;
   3 Twentieth Century Fox Film Corporation; Universal City Studios Productions
   4 LLLP; and Warner Bros. Entertainment Inc. (collectively, “Plaintiffs”), hereby
   5 apply to the Court pursuant to Federal Rule of Civil Procedure 65 and Local Rule
   6 65-1 for a Temporary Restraining Order requiring Defendants Dragon Media, Inc.
   7 d/b/a Dragon Box (“Dragon Media”) and Paul Christoforo (“Christoforo”) (jointly,
   8 “Defendants”) and all of their officers, agents, servants, employees, and attorneys,
   9 and those persons in active concert or participation or privity with any of them, to
  10 immediately cease and desist all actions infringing or inducing the infringement of
  11 Plaintiffs’ copyrighted works, and ordering Defendants to show cause why a
  12 preliminary injunction should not issue.
  13        In support of their application, Plaintiffs submit the attached Memorandum of
  14 Points and Authorities, the contemporaneously filed Declarations of Matthew
  15 Fulton, David Kaplan, and Michael B. DeSanctis, all pleadings and papers filed in
  16 this action, the argument of counsel, and further evidence as the Court may consider
  17 at or before a hearing regarding this Application or the hearing regarding the Order
  18 to Show Cause and preliminary injunction requested herein.
  19
  20 DATED: December 20, 2018             MUNGER, TOLLES & OLSON LLP
  21
  22
                                          By:        /s/ Kelly M. Klaus
  23
                                              KELLY M. KLAUS
  24                                      Attorneys for Plaintiffs
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                                   PLAINTIFFS’ APPLICATION FOR TEMPORARY RESTRAINING ORDER
                                                              CASE NO. 2:18-CV-000230 - MWF (AS)
Case 2:18-cv-00230-MWF-AS Document 46 Filed 12/20/18 Page 3 of 28 Page ID #:389




   1                                          TABLE OF CONTENTS
   2                                                                                                                        Page
   3 MEMORANDUM OF POINTS AND AUTHORITIES............................................. 1
   4 I.       INTRODUCTION ............................................................................................. 1
   5 II.      FACTUAL BACKGROUND ........................................................................... 2
   6          A.       Defendants’ Pre-Lawsuit Infringing Conduct......................................... 2
   7          B.       After the Lawsuit was Filed, Defendants Continued to Induce
                       Infringement ............................................................................................ 4
   8
              C.       Defendants Plainly Intend To Induce Infringement ............................. 10
   9
       III.   ARGUMENT .................................................................................................. 11
  10
              A.       Plaintiffs Will Succeed On The Merits ................................................. 12
  11
                       1.       Plaintiffs Own Their Copyrighted Works .................................. 12
  12
                       2.       Plaintiffs Will Prevail on Their Inducement Claims .................. 13
  13
                                (a)       Defendants Distribute the Dragon Box Service ............... 14
  14
                                (b)       Unauthorized Streaming of the Copyrighted Works
  15                                      Directly Infringes Plaintiffs’ Public Performance
                                          Right ................................................................................. 14
  16
                                (c)       Defendants’ Objective of Promoting and Inducing
  17                                      Infringement is Clear ........................................................ 16
  18                            (d)       The Dragon Box Service Causes Infringement ................ 18
  19          B.       Defendants Causing Irreparable Harm.................................................. 19
  20          C.       The Balance of Hardships Strongly Favors Plaintiffs .......................... 22
  21          D.       Enjoining Defendants’ Unlawful Conduct Will Advance the
                       Public Interest........................................................................................ 22
  22
       IV.    CONCLUSION ............................................................................................... 23
  23
  24
  25
  26
  27
  28                                                              -i-
                                               PLAINTIFFS’ APPLICATION FOR TEMPORARY RESTRAINING ORDER
                                                                          CASE NO. 2:18-CV-000230 - MWF (AS)
Case 2:18-cv-00230-MWF-AS Document 46 Filed 12/20/18 Page 4 of 28 Page ID #:390




   1                                            TABLE OF AUTHORITIES
   2                                                                                                                           Page
   3 FEDERAL CASES
   4 A&M Records, Inc. v. Napster, Inc.,
   5   239 F.3d 1004 (9th Cir. 2001) .............................................................................. 12

   6 In re Aimster Copyright Litig.,
         334 F.3d 643 (7th Cir. 2003) ................................................................................ 17
   7
   8 American Broadcasting Cos., Inc. v. Aereo, Inc.,
         134 S. Ct. 2498 (2014).......................................................................................... 14
   9
     Cadence Design Sys., Inc. v. Avant! Corp.,
  10
         125 F.3d 824 (9th Cir. 1997) ................................................................................ 22
  11
     China Cent. Television v. Create New Tech. (HK) Ltd.,
  12     No. CV 15-01869 MMM, 2015 WL 3649187 (C.D. Cal. June 11,
  13     2015) ..................................................................................................................... 20
  14 Columbia Pictures Industries, Inc. v. Fung,
        710 F.3d 1020 (9th Cir. 2013) ................................................................. 13, passim
  15
  16 Disney Enter. V. VidAngel,
        869 F.3d 848 (9th Cir. 2017) .......................................................................... 20, 22
  17
  18 Eldred v. Ashcroft,
        537 U.S. 186 (2003) ............................................................................................. 22
  19
     Fox Television Stations, Inc. v. BarryDriller Content Sys., PLC,
  20    915 F. Supp. 2d 1138 (C.D. Cal. 2012) .......................................................... 20, 21
  21
     Fox Television Stations, Inc. v. FilmOn X LLC,
  22    966 F. Supp. 2d 30 (D.D.C. 2013).................................................................. 15, 20
  23 Harper & Row Publishers, Inc. v. Nation Enters.,
  24   471 U.S. 539 (1985) ............................................................................................. 19
  25 Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd.,
  26   518 F. Supp. 2d 1197 (C.D. Cal. 2007) ................................................................ 21

  27 Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd.,
       545 U.S. 913 (2005) ................................................................................ 13, passim
  28                                                   -ii-
                                                    PLAINTIFFS’ APPLICATION FOR TEMPORARY RESTRAINING ORDER
                                                                               CASE NO. 2:18-CV-000230 - MWF (AS)
Case 2:18-cv-00230-MWF-AS Document 46 Filed 12/20/18 Page 5 of 28 Page ID #:391




   1                                            TABLE OF AUTHORITIES
                                                      (Continued)
   2                                                                                                                          Page
   3 Stuhlbarg Int’l Sales Co. v. John D. Brushy & Co.,
        240 F.3d 832 (9th Cir. 2001) .......................................................................... 11, 20
   4
   5 Twentieth Century Fox Film Corp. v. iCraveTV,
        No. Civ.A. 00-120, 2000 WL 255989 (W.D. Pa. Feb. 8, 2000) .......................... 15
   6
     Unicolors, Inc. v. Urban Outfitters, Inc.,
   7
        853 F.3d 980 (9th Cir. 2017) ................................................................................ 17
   8
     United Fabrics Int’l, Inc. v. C&J Wear, Inc.,
   9    630 F.3d 1255 (9th Cir. 2011) .............................................................................. 12
  10
     Universal City Studios Productions LLLP et al. v. TickBox TV LLC et al.,
  11    2018 WL 1568698 (No. 17-cv-07496-MWF) ........................................... 1, passim
  12 Video Pipeline, Inc. v. Buena Vista Home Entm’t, Inc.,
  13    192 F. Supp. 2d 321 (D.N.J. 2002), aff’d 342 F.3d 191 (3d Cir.
        2003) ..................................................................................................................... 15
  14
     Warner Bros. Entm’t Inc. v. WTV Sys., Inc.,
  15
        824 F. Supp. 2d 1003 (C.D. Cal. 2011) .............................................. 15, 19, 20, 21
  16
     Winter v. Nat. Res. Def. Council, Inc.,
  17    555 U.S. 7 (2008) ................................................................................................. 12
  18
     WPIX, Inc. v. ivi, Inc., 691 F.3d 275, 278 (2d Cir. 2012).............................. 15, 21, 22
  19
     FEDERAL STATUTES
  20
  21 17 U.S.C. § 106.......................................................................................................... 12
  22 17 U.S.C. § 106(4) ..................................................................................................... 14
  23 17 U.S.C. § 410(c) ..................................................................................................... 12
  24 17 U.S.C. § 502(a) ..................................................................................................... 11
  25
     17 U.S.C. § 504(c) ..................................................................................................... 21
  26
  27
  28
                                                                     -iii-
                                                   PLAINTIFFS’ APPLICATION FOR TEMPORARY RESTRAINING ORDER
                                                                              CASE NO. 2:18-CV-000230 - MWF (AS)
Case 2:18-cv-00230-MWF-AS Document 46 Filed 12/20/18 Page 6 of 28 Page ID #:392




   1                MEMORANDUM OF POINTS AND AUTHORITIES
   2 I.     INTRODUCTION
   3        Defendants are intentionally inducing and materially and knowingly
   4 contributing to the mass infringement of Plaintiffs’ motion pictures and television
   5 shows (“Copyrighted Works”) through the sale of “Dragon Box” devices—
   6 computer hardware devices pre-loaded with illicit software for accessing content on
   7 the Internet. Defendants’ illicit devices operate in essentially the same way as the
   8 devices that this Court recently enjoined in Universal City Studios Productions
   9 LLLP et al. v. TickBox TV LLC et al., 2018 WL 1568698 (No. 17-cv-07496-MWF)
  10 (“TickBox”). Dragon Box devices, like TickBox devices, offered customers a
  11 curated selection of illicit addons which search for, organize, and provide links to
  12 infringing streams of Plaintiffs’ Copyrighted Works.
  13        Upon the filing of the Complaint, Defendants briefly halted their sales of the
  14 Dragon Box devices. Rather than seeking a preliminary injunction at that time,
  15 Plaintiffs’ relied on Defendants’ representations that they would either shut down
  16 the infringing service altogether or operate a lawful business. Declaration of
  17 Michael B. DeSanctis (“DeSanctis Decl.”) ¶ 3.
  18        Despite their representations, Defendants have resumed what they have touted
  19 as a “multi-million dollar” business of enticing prospective purchasers to use
  20 Dragon Box devices to get free access to infringing content for which they
  21 otherwise would have to pay. DeSanctis Decl. Ex. A. Defendants recommenced
  22 their sales of Dragon Box devices, and then expanded their illicit operations by
  23 switching from one unauthorized content provider to another. In light of this court’s
  24 order in TickBox enjoining the same scheme of curating illicit addons and pairing
  25 those with the Kodi media player, Defendants modified the Dragon Box devices to
  26 stop relying on illicit addons to locate infringing content. After several weeks of
  27 apparent technical issues, Defendants announced a new content provider for Dragon
  28
                                                 -1-
                                    PLAINTIFFS’ APPLICATION FOR TEMPORARY RESTRAINING ORDER
                                                               CASE NO. 2:18-CV-000230 - MWF (AS)
Case 2:18-cv-00230-MWF-AS Document 46 Filed 12/20/18 Page 7 of 28 Page ID #:393




   1 Box customers: “BlendTV.” Despite Defendants’ promises that BlendTV would be
   2 a licensed and legitimate service, it was not.
   3         A few weeks after launching BlendTV, Defendants told customers that there
   4 were issues with BlendTV’s operations and that BlendTV would no longer be
   5 available at the end of November 2018.
   6         On December 11, 2018, the day after an unsuccessful mediation before
   7 Magistrate Judge Alka Sagar, Plaintiffs discovered that Defendants had launched yet
   8 another infringing service called “My TV Hub” just hours after leaving the
   9 courthouse. DeSanctis Decl. ¶ 2. The next day, Defendant Paul Christoforo, CEO
  10 of Dragon Media, Inc., failed to appear for his properly noticed deposition.
  11         Defendants’ game is clear: every time they are caught marketing an
  12 infringing service to their customers, Defendants pull that service down and
  13 substitute another in its place. My TV Hub is not licensed to stream Plaintiffs’
  14 Copyrighted Works, just as Blend TV was not before it, and just as the addons
  15 Defendants originally utilized was not. Absent injunctive relief, Defendants will
  16 continue this game of Whac-a-Mole. Nothing short of a Temporary Restraining
  17 Order (“TRO”) to enjoin this latest service offering, and all similar offerings, will
  18 cause Defendants to cease their flagrantly infringing conduct. Plaintiffs therefore
  19 respectfully request that the Court temporarily restrain Defendants’ conduct
  20 immediately.
  21 II.     FACTUAL BACKGROUND
  22         A.    Defendants’ Pre-Lawsuit Infringing Conduct
  23         Defendants are Dragon Media, Inc. d/b/a Dragon Box (“Dragon Media”), and
  24 its CEO, Paul Christoforo. 1 Like the defendants in TickBox, the Dragon Box
  25 Defendants took the hassle out of obtaining illegal Internet streams of movies and
  26
       1
  27  As there is no indication that defendant Jeff Williams is involved with the My TV
     Hub service, Plaintiffs seek relief only as to Defendants Dragon Media, Inc. and
  28 Paul Christoforo, referred to as “Defendants” throughout.
                                                 -2-
                                    PLAINTIFFS’ APPLICATION FOR TEMPORARY RESTRAINING ORDER
                                                               CASE NO. 2:18-CV-000230 - MWF (AS)
Case 2:18-cv-00230-MWF-AS Document 46 Filed 12/20/18 Page 8 of 28 Page ID #:394




   1 television shows by enabling their customers to find high-quality, high-speed,
   2 reliable—but completely illegal—sources for content. Customers would pay for the
   3 device in a single payment that went directly to Defendants. The Dragon Box device
   4 then presented the customer with menus and other features to aid the customer in
   5 finding virtually any television show or movie, including movies still in theaters. In
   6 turn, the device used software, i.e., illicit addons such as “Covenant,” to link its
   7 customers to the content they’ve selected. DeSanctis Decl. Exs. B, C; Declaration
   8 of Matthew Fulton (“Fulton Decl.”) ¶¶ 4-11. The content is unlicensed, i.e.,
   9 infringing, and is streamed to the consumer without any royalties being paid to the
  10 rightful copyright owners. When used in this way, as Defendants intended and
  11 instructed, Dragon Box devices gave Defendants’ customers access to multiple
  12 sources that stream Plaintiffs’ Copyrighted Works without authorization.
  13        Defendants’ pre-suit advertising left no doubt about what they were offering
  14 customers:
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  27 DeSanctis Decl. Ex. D.
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                                                 -3-
                                    PLAINTIFFS’ APPLICATION FOR TEMPORARY RESTRAINING ORDER
                                                               CASE NO. 2:18-CV-000230 - MWF (AS)
Case 2:18-cv-00230-MWF-AS Document 46 Filed 12/20/18 Page 9 of 28 Page ID #:395




   1         Defendants urged customers to stream infringing content, including “virtually
   2 every movie,” “Free Movies (In Theater),” “Free Kids Shows,” and “so much more
   3 content,” “Anytime For Free.” DeSanctis Decl. Exs. D, BB; TickBox, 2018 WL
   4 1568698, at *5-6 (telling customers they could “enjoy unlimited access to …
   5 Hollywood blockbusters… ABSOLUTELY FREE”).
   6         B.       After the Lawsuit was Filed, Defendants Continued to Induce
                      Infringement
   7
             Shortly after Plaintiffs filed their complaint in this case, Defendants
   8
       represented that they would stop selling Dragon Box devices. DeSanctis Decl. ¶ 3.
   9
       Defendants also repeatedly represented, for several months, that Defendants soon
  10
       would be pushing out a new software update that would allow Dragon Box users to
  11
       stream only fully licensed content. Id. However, all existing users could continue
  12
       using their Dragon Box devices to unlawfully access Plaintiffs’ Copyrighted Works.
  13
             On September 2, 2018, Defendants announced that, “[i]nstead of closing
  14
       [their] doors and shutting down all boxes and riding off into the sunset,” Defendants
  15
       would be “chang[ing] [their] business model.” DeSanctis Decl. Ex. E. At that time,
  16
       Defendants openly admitted that “the [Dragon] wizard facilitated” “copyright
  17
       infringement,” and reassured customers that there would be a software update. Id.
  18
       Ex. F. Defendants explained that “Everyone … here knew that this wasn’t going to
  19
       last forever Hollywood was losing to[o] much money and all good things must come
  20
       to an end it was a fun 5 years.” Id. Ex. G.
  21
                      i.   Defendants Launched a New Infringing Service - BlendTV
  22
             On September 18, 2018, Defendants announced that new software updates
  23
       were available. DeSanctis Decl. Ex. H. On October 15, 2018, Defendants
  24
       announced that “BlendTV” was now available, and that there would be “guide
  25
       changes and tweaks from customer feedback as well as some more content” because
  26
       “content is our biggest goal.” Id. Ex. I. Plaintiffs promptly began investigating this
  27
       new service.
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                                                 -4-
                                    PLAINTIFFS’ APPLICATION FOR TEMPORARY RESTRAINING ORDER
                                                               CASE NO. 2:18-CV-000230 - MWF (AS)
Case 2:18-cv-00230-MWF-AS Document 46 Filed 12/20/18 Page 10 of 28 Page ID #:396




    1
    2         After a customer downloaded the mandatory software update pushed out by
    3 Defendants, he or she would see the menu depicted below, with a prominent button
    4 for BlendTV:
    5
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        Fulton Decl. ¶ 16.
   15
              Selecting the BlendTV button depicted above would then launch the
   16
        following interface, which presented Defendants’ customers with a variety of
   17
        options for content, including “Shows,” “Movies,” and “Your Watchlist.”
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                                                 -5-
                                    PLAINTIFFS’ APPLICATION FOR TEMPORARY RESTRAINING ORDER
                                                               CASE NO. 2:18-CV-000230 - MWF (AS)
Case 2:18-cv-00230-MWF-AS Document 46 Filed 12/20/18 Page 11 of 28 Page ID #:397




    1 Fulton Decl. ¶ 20.
    2        Dragon Box customers could then access streams of infringing content in one
    3 of two ways: (1) “live” broadcast and cable television channels that are streamed
    4 over the Internet as they are being broadcast; and (2) video-on-demand (“VOD”)
    5 options where a customer can select from dozens of options for television shows and
    6 movies. Fulton Decl. ¶ 22. Dragon Box customers could “record” programs shown
    7 on live television and play the recorded program at a later time of the customer’s
    8 choosing. Id. ¶ 23.
    9        As shown in the next screenshot, the “TV Guide” informed customers when
   10 they could watch “live” transmissions of content, and indicated with a red dot
   11 whether the content is “RECORDED” and therefore available on-demand. Fulton
   12 Decl. ¶¶ 24-25.
   13
   14
   15
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   23
   24 Fulton Decl. ¶ 24.
   25
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                                                 -6-
                                    PLAINTIFFS’ APPLICATION FOR TEMPORARY RESTRAINING ORDER
                                                               CASE NO. 2:18-CV-000230 - MWF (AS)
Case 2:18-cv-00230-MWF-AS Document 46 Filed 12/20/18 Page 12 of 28 Page ID #:398




    1        Customers could also use the “SEARCH” function circled in red above to
    2 find popular movies and television shows. For example, a Dragon Box customer
    3 who used BlendTV to search for Warner Bros.’ box office hit Wonder Woman
    4 would have had easy and immediate access to the motion picture. As shown below,
    5 the customer would be presented with three results, each of which included a date
    6 and time during which the film would be broadcast live on their Dragon Box device.
    7
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   18 Fulton Decl. ¶ 27.
   19       In addition to learning when Wonder Woman would be streamed live, the

   20 customer would also have had access to an on-demand infringing stream of Wonder
   21 Woman because there was a “RECORDED” copy. Fulton Decl. ¶ 28. Dragon Box
   22 presented customers with a high-quality stream in a familiar interface with buttons
   23 for rewind, stop, fast-forward, closed captioning, and a progress bar.
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                                                 -7-
                                    PLAINTIFFS’ APPLICATION FOR TEMPORARY RESTRAINING ORDER
                                                               CASE NO. 2:18-CV-000230 - MWF (AS)
Case 2:18-cv-00230-MWF-AS Document 46 Filed 12/20/18 Page 13 of 28 Page ID #:399




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        Fulton Decl. ¶ 28.
   12
              As shown above, Plaintiffs confirmed the availability of their Copyrighted
   13
        Works on BlendTV, but Plaintiffs had never authorized or licensed BlendTV to
   14
        stream their works. Despite Defendants’ representations to the contrary, it turned
   15
        out that Defendants had merely changed the underlying source of the unauthorized
   16
        content that Dragon Box devices relied on to stream content. Though Plaintiffs
   17
        informed Defendants that BlendTV did not have licenses for their Copyrighted
   18
        Works, Defendants continued to sell and promote the Dragon Box device with the
   19
        BlendTV service. Plaintiffs informed Defendants through counsel that Plaintiffs
   20
        intended to move for a preliminary injunction.
   21
              Within three weeks of launching BlendTV, Defendants announced their intent
   22
        to switch to yet another, purportedly lawful, content provider and informed
   23
        customers via Facebook that BlendTV would not be available as of November 26,
   24
        and recommended that customers try a different service while Defendants worked to
   25
        resolve the issue or find another content provider. DeSanctis Decl. Ex. J.
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                                                  -8-
                                     PLAINTIFFS’ APPLICATION FOR TEMPORARY RESTRAINING ORDER
                                                                CASE NO. 2:18-CV-000230 - MWF (AS)
Case 2:18-cv-00230-MWF-AS Document 46 Filed 12/20/18 Page 14 of 28 Page ID #:400




    1                ii.    Following an Unsuccessful Mediation, Defendants Launched
    2                       Another Infringing Service - MyTVHub
    3         After Defendants announced the imminent end of the BlendTV service, the
    4 parties agreed to engage in a mediation before Magistrate Judge Sagar on December
    5 10, 2018. The mediation was unsuccessful. DeSanctis Decl. ¶ 2.
    6         The next day, Plaintiffs discovered Defendants had launched yet another
    7 infringing service called “My TV Hub.” Though branded differently, My TV Hub
    8 appears to be a copycat of BlendTV:
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   18
        Fulton Decl. ¶ 31. The only difference is that the branded logos in the top left-hand-
   19
        corner are specific to each service.
   20
              My TV Hub, like each of Defendants’ prior infringing offerings, provides
   21
        customers with easy and near-instantaneous access to illegal streams of Plaintiffs’
   22
        Copyrighted Works. As depicted below, on December 11, 2018, investigators for
   23
        the Motion Picture Association of America (“MPAA”) found and streamed a
   24
        “RECORDED” copy of Fox’s superhero hit Logan. Fulton Decl. ¶ 32. Just as with
   25
        BlendTV, My TV Hub offers customers options to watch a “live” transmission of
   26
        Logan on the Cinemax channel at the specified time and date, or to watch a
   27
        “RECORDED” copy of Logan on-demand.
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                                                   -9-
                                      PLAINTIFFS’ APPLICATION FOR TEMPORARY RESTRAINING ORDER
                                                                 CASE NO. 2:18-CV-000230 - MWF (AS)
Case 2:18-cv-00230-MWF-AS Document 46 Filed 12/20/18 Page 15 of 28 Page ID #:401




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        Fulton Decl. ¶ 32.
   13
               With the freshly minted new My TV Hub service, Defendants continue to
   14
        knowingly induce the widespread infringement of Plaintiffs’ Copyrighted Works by
   15
        encouraging Dragon Box customers to access infringing streams through the latest
   16
        iteration of the Dragon Box Service.
   17
              C.    Defendants Plainly Intend To Induce Infringement
   18
              Despite their assurances to the contrary, Defendants’ advertising for BlendTV
   19
        and My TV Hub demonstrates their clear intent to induce infringement. Defendants
   20
        told prospective customers that Dragon Box devices, powered by BlendTV, give
   21
        customers “over 65 Live US TV Channels. 30 hours of Cloud-PVR, 7-day Playback,
   22
        and watch on the go options” “for only $39.95 per month.” DeSanctis Decl. Ex. K,
   23
        L. The “Cloud-PVR” option that Defendants advertise is a “Personal Video
   24
        Recording” feature that allows customers to record and play back infringing content
   25
        at a time that is convenient for them. Defendants advertise identical features for My
   26
        TV Hub. Id. Exs. M, N. In fact, Defendants inform customers on Facebook that
   27
        “[a]ll subscribers to Blend can resign up under My TV Hub.” Id. Ex. O.
   28
                                                 -10-
                                     PLAINTIFFS’ APPLICATION FOR TEMPORARY RESTRAINING ORDER
                                                                CASE NO. 2:18-CV-000230 - MWF (AS)
Case 2:18-cv-00230-MWF-AS Document 46 Filed 12/20/18 Page 16 of 28 Page ID #:402




    1 Defendants explain that they “are now content providers” and that customers who
    2 use My TV Hub will “get more than ever,” and can “Watch what you want, when
    3 you want, how you want” with “No annual contracts! No installation guy! No extra
    4 fees!” Id. Exs. M, P.
    5         Defendants have tried to obscure their illegal conduct by calling their
    6 offerings “legal cable service[s].” DeSanctis Decl. Ex. P. This is a fig leaf that
    7 Defendants themselves cannot maintain when trying to hook customers. For
    8 example, Defendants told actual and prospective customers through promotions on
    9 Facebook that “Blend TV is going to be an amazing service our goal is to get you as
   10 much content as we can for as less as we can.” Id. Ex. G.
   11         Defendants are promoting My TV Hub in exactly the same way. They
   12 apologized to customers for having switched from Blend TV, saying “all you will
   13 have to do is go to a new website and resubscribe and log in and the content will be
   14 there plus more.” Id. Ex. Q. Defendants then urged customers to “please try” My
   15 TV Hub, promising customers that “you will not be disappointed.” Id. Ex. K.
   16         Defendants’ playbook is transparent: they have promoted and unless enjoined
   17 will continue to utilize and promote any illicit streaming service they think they can
   18 sell to customers as providing copyrighted content for nothing. Plaintiffs have no
   19 choice but to seek this Court’s urgent equitable relief.
   20 III.    ARGUMENT
   21         The Copyright Act authorizes courts to grant injunctive relief “to prevent or
   22 restrain infringement of a copyright.” 17 U.S.C. § 502(a). The standard for issuing
   23 a TRO is the same as that for issuing a preliminary injunction. Stuhlbarg Int’l Sales
   24 Co. v. John D. Brushy & Co., 240 F.3d 832, 839 n.7 (9th Cir. 2001). Plaintiffs meet
   25 all the requirements for a TRO: (1) they are likely to succeed on the merits of their
   26 claim for copyright infringement; (2) they will suffer irreparable harm absent
   27 injunctive relief; (3) the balance of hardships tips in their favor; and (4) injunctive
   28
                                                  -11-
                                      PLAINTIFFS’ APPLICATION FOR TEMPORARY RESTRAINING ORDER
                                                                 CASE NO. 2:18-CV-000230 - MWF (AS)
Case 2:18-cv-00230-MWF-AS Document 46 Filed 12/20/18 Page 17 of 28 Page ID #:403




    1 relief is in the public interest. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20
    2 (2008).
    3         A.    Plaintiffs Will Succeed On The Merits
    4         To prevail on their infringement claims, Plaintiffs need only (1) “show
    5 ownership” and (2) a violation of “at least one exclusive right” under 17 U.S.C.
    6 § 106. A&M Records, Inc. v. Napster, Inc., 239 F.3d 1004, 1013 (9th Cir. 2001).
    7 Plaintiffs satisfy both requirements.
    8               1.     Plaintiffs Own Their Copyrighted Works
    9         Plaintiffs’ ownership of the Copyrighted Works is indisputable. Plaintiffs,
   10 directly or through their affiliates, create and distribute some of the most popular
   11 and critically acclaimed motion pictures and television programs in the world.
   12 Plaintiffs authorize the distribution and public performance of their Copyrighted
   13 Works in various formats and through multiple distribution channels, including: for
   14 exhibition in theaters; through television broadcasts; and through cable and direct-
   15 to-home satellite services (including basic, premium, and “pay-per-view”).
   16 Declaration of David Kaplan (“Kaplan Decl.”) ¶¶ 6-7. Plaintiffs also distribute,
   17 publicly perform, and license their works through authorized Internet Video-on-
   18 Demand (“VOD”) services, such as Hulu, iTunes, Google Play, VUDU, Netflix, and
   19 Amazon. 2 Id. ¶¶ 6(e)-6(f), 20.
   20         Exhibit R to the accompanying Declaration of Michael B. DeSanctis includes
   21 a representative list of Copyrighted Works that are infringed through Dragon Box.
   22 DeSanctis Decl. Ex. R. The Copyright Office has issued certificates of registration
   23 for each of these Works. Id. Exs. S - AA. These certificates create a presumption of
   24 copyright validity and ownership. 17 U.S.C. § 410(c); United Fabrics Int’l, Inc. v.
   25 C&J Wear, Inc., 630 F.3d 1255, 1257 (9th Cir. 2011).
   26
        2
   27  Plaintiffs Netflix Studios, LLC and Amazon Content Services, LLC are the
      content-production affiliates of (respectively) the Netflix and Amazon streaming
   28 services.
                                                 -12-
                                     PLAINTIFFS’ APPLICATION FOR TEMPORARY RESTRAINING ORDER
                                                                CASE NO. 2:18-CV-000230 - MWF (AS)
Case 2:18-cv-00230-MWF-AS Document 46 Filed 12/20/18 Page 18 of 28 Page ID #:404




    1               2.     Plaintiffs Will Prevail on Their Inducement Claims
    2         Copyright owners may bring infringement claims not only against those
    3 parties who directly infringe their exclusive rights but also against those who are
    4 secondarily liable for that infringement. Metro-Goldwyn-Mayer Studios Inc. v.
    5 Grokster, Ltd., 545 U.S. 913, 930 (2005). Where direct infringers use a “widely
    6 shared service or product” to commit infringement, “it may be impossible to enforce
    7 rights in the protected work effectively against all direct infringers, the only
    8 practical alternative being to go against the distributor of the copying device for
    9 secondary liability on a theory of contributory or vicarious infringement.” Id. at
   10 929-30. Secondary liability is particularly critical in the online context, because
   11 “digital distribution of copyrighted material threatens copyright holders as never
   12 before.” Id. at 928-29.
   13         The Supreme Court therefore held in Grokster that a party that distributes a
   14 product “with the object of promoting its use to infringe copyright, as shown by
   15 clear expression or other affirmative steps taken to foster infringement, is liable for
   16 the resulting acts of infringement by third parties.” Id. at 936-37.
   17         In Columbia Pictures Industries, Inc. v. Fung, 710 F.3d 1020 (9th Cir. 2013),
   18 the Ninth Circuit examined Grokster in detail. The court held the defendant (Fung)
   19 was liable for inducement for operating a so-called “torrent” site called “isoHunt.”
   20 isoHunt collected and indexed “torrent files” to help users find and download
   21 infringing copies of movies and television shows. Id. at 1028-29. Although Fung
   22 did not distribute the infringing copies, the Ninth Circuit nevertheless held that,
   23 under Grokster, Fung’s “purposeful involvement in the process of” infringement
   24 was sufficient to trigger inducement liability. Id. at 1033.
   25         As the Ninth Circuit explained in Fung, a plaintiff establishes inducement
   26 liability by showing: “(1) distribution of a device or product [by defendant], (2) acts
   27 of infringement [by third parties], (3) an object [of the defendant] of promoting [the
   28
                                                 -13-
                                     PLAINTIFFS’ APPLICATION FOR TEMPORARY RESTRAINING ORDER
                                                                CASE NO. 2:18-CV-000230 - MWF (AS)
Case 2:18-cv-00230-MWF-AS Document 46 Filed 12/20/18 Page 19 of 28 Page ID #:405




    1 device’s or product’s] use to infringe copyright, and (4) causation.” Id. at 1032
    2 (citing Grokster, 545 U.S. at 936-37). All four elements are easily satisfied here.
    3                       (a)   Defendants Distribute the Dragon Box Service
    4         Defendants market, promote, and sell BlendTV and My TV Hub as part of the
    5 “Dragon Box Service.” Defendants sell Dragon Box devices, which rely on
    6 infringing services like BlendTV and My TV Hub for content, and sell subscriptions
    7 to BlendTV and My TV Hub. For purposes of inducement liability, the Dragon Box
    8 Service is a “device or product” that enables and encourages infringing conduct.
    9 Fung, 710 F.3d at 1033 (“services available on the Internet” basis for inducement
   10 liability).
   11                       (b)   Unauthorized Streaming of the Copyrighted Works
                                  Directly Infringes Plaintiffs’ Public Performance Right
   12
              Defendants’ advertised purpose and achieved objective in distributing the
   13
        Dragon Box Service is the unauthorized streaming of copyrighted works by third
   14
        parties. Defendants therefore induce the widespread, direct infringement of
   15
        Plaintiffs’ public performance right.
   16
              Plaintiffs have the exclusive right, among others, “to perform” the
   17
        Copyrighted Works “publicly.” 17 U.S.C. § 106(4). Under the “Transmit Clause,”
   18
        contained in Section 101’s definition of the public performance right, a party
   19
        performs a work publicly when it “transmit[s] or otherwise communicate[s] a
   20
        performance … of the work … to the public, by means of any device or process,
   21
        whether the members of the public capable of receiving the performance … receive
   22
        it in the same place or in separate places and at the same time or at different times.”
   23
        Id. § 101(2) (definition of “[t]o perform … a work ‘publicly’”).
   24
              “Broadcasting copyrighted video content to the public over the internet
   25
        without authorization infringes upon the copyright owner’s public performance
   26
        right.” TickBox, 2018 WL 1568698, at *9 (citing American Broadcasting Cos., Inc.
   27
        v. Aereo, Inc., 134 S. Ct. 2498, 2509 (2014) (service that made Internet streams of
   28
                                                  -14-
                                      PLAINTIFFS’ APPLICATION FOR TEMPORARY RESTRAINING ORDER
                                                                 CASE NO. 2:18-CV-000230 - MWF (AS)
Case 2:18-cv-00230-MWF-AS Document 46 Filed 12/20/18 Page 20 of 28 Page ID #:406




    1 content performed publicly: “Aereo communicates the same contemporaneously
    2 perceptible images and sounds to a large number of people who are unrelated and
    3 unknown to each other.”)); see also, e.g., WPIX, Inc. v. ivi, Inc., 691 F.3d 275, 278
    4 (2d Cir. 2012) (“undisputed” that defendant’s Internet streaming of television
    5 programs infringed public performance right); Warner Bros. Entm’t Inc. v. WTV
    6 Sys., Inc., 824 F. Supp. 2d 1003, 1010 (C.D. Cal. 2011) (“Zediva”) (Internet
    7 streaming of movies and television shows from remote DVD players to users is a
    8 public performance); Fox Television Stations, Inc. v. FilmOn X LLC, 966 F. Supp.
    9 2d 30, 46-47 (D.D.C. 2013) (“FilmOn X transmits (i.e., communicates from mini-
   10 antenna through servers over the Internet to a user) the performance (i.e., an original
   11 over-the-air broadcast of a work copyrighted by one of the Plaintiffs) to members of
   12 the public (i.e., any person who accesses the FilmOn X service through its website
   13 or application) who receive the performance in separate places and at different times
   14 (i.e. at home at their computers or on their mobile devices).”); Video Pipeline, Inc. v.
   15 Buena Vista Home Entm’t, Inc., 192 F. Supp. 2d 321, 332 (D.N.J. 2002) (“Because
   16 transmission of the clip previews to individual computers occurs when any member
   17 of the public selects an icon that redirects him or her to Video Pipeline’s website,
   18 from which the video clips are then shown, such actions by Video Pipeline
   19 constitute a ‘public performance’”), aff’d 342 F.3d 191 (3d Cir. 2003); Twentieth
   20 Century Fox Film Corp. v. iCraveTV, No. Civ.A. 00-120, 2000 WL 255989, at *7
   21 (W.D. Pa. Feb. 8, 2000) (Internet transmissions violated plaintiffs’ public
   22 performance rights “by transmitting (through use of ‘streaming’ technology)
   23 performances of the works to the public by means of the telephone lines and
   24 computers that make up the Internet.”).
   25         Defendants’ intended use of the Dragon Box Service is for customers to select
   26 titles and receive unauthorized streams from My TV Hub (and its short-lived
   27 predecessor BlendTV), which has no right to exercise Plaintiffs’ public performance
   28 right. My TV Hub transmits performances of the Copyrighted Works to
                                           -15-
                                     PLAINTIFFS’ APPLICATION FOR TEMPORARY RESTRAINING ORDER
                                                                CASE NO. 2:18-CV-000230 - MWF (AS)
Case 2:18-cv-00230-MWF-AS Document 46 Filed 12/20/18 Page 21 of 28 Page ID #:407




    1 Defendants’ customers. As in TickBox, Defendants serve as an “intermediary”
    2 between My TV Hub, an unauthorized source of infringing public performances,
    3 and an audience of Dragon Box customers by “funneling users to” My TV Hub.
    4 TickBox, 2018 WL 1568698, at *10. Defendants’ conduct in promoting,
    5 advertising, and bundling My TV Hub with Dragon Box devices “undoubtedly
    6 enlarges that audience and thereby enlarges the scope of the infringement.” Id.
    7                      (c)    Defendants’ Objective of Promoting and Inducing
                                  Infringement is Clear
    8
              Defendants knowingly distribute the Dragon Box Service “with the object of
    9
        promoting its use to infringe copyright.” Fung, 710 F.3d at 1034 (quoting Grokster,
   10
        545 U.S. at 936-37).
   11
              First, prior to this lawsuit, Defendants advertised and promoted Dragon Box
   12
        as a means of streaming anything and everything their customers could possibly
   13
        want to see. Defendants marketed Dragon Box devices as a means for customers to
   14
        “Watch your Favourites Anytime For FREE,” “Watch virtually every movie, Most
   15
        in High Definition, TV Shows and Sports … and much more.” DeSanctis Decl. Ex.
   16
        D. Defendants have promised prospective customers that, with a Dragon Box
   17
        device, customers could access “Free movies in theaters” and that “so much more
   18
        content” is free. Id. Ex. BB.
   19
              After being sued, Defendants told customers that, “[i]nstead of closing
   20
        [Dragon Box’s] doors and shutting down all boxes and riding off into the sunset,”
   21
        Defendants would “adapt to change and continue to try and bring you the best legal
   22
        content we can and add in as many services we can to make Dragon Box the box
   23
        that beats any competitors out there.” DeSanctis Decl. Ex. E. Defendants
   24
        simultaneously confirmed that they knew all along they were “facilitat[ing]”
   25
        “copyright infringement.” Id. Ex. P.
   26
              Following their admission of unlawful conduct and subsequent commitment
   27
        to customers, Defendants began looking for an alternative to the illicit addons that
   28
                                                    -16-
                                        PLAINTIFFS’ APPLICATION FOR TEMPORARY RESTRAINING ORDER
                                                                   CASE NO. 2:18-CV-000230 - MWF (AS)
Case 2:18-cv-00230-MWF-AS Document 46 Filed 12/20/18 Page 22 of 28 Page ID #:408




    1 had powered the Dragon Box devices’ ability to “facilitate[]” infringement.
    2 DeSanctis Decl. Ex. F. Defendants briefly found a new content provider in
    3 BlendTV and are now promoting My TV Hub as the latest incarnation of their
    4 business model. Defendants use My TV Hub to achieve the same result for their
    5 customers: a user-friendly interface and the means by which to obtain near-
    6 instantaneous access to obviously infringing content. See supra Part __.
    7 Defendants provide Dragon Box customers with easy access to infringing content
    8 through My TV Hub, which Defendants have integrated into the Dragon Box user
    9 interface and business model.
   10         Second, Defendants continue to make clear by their conduct and admissions
   11 that they are intentionally inducing infringement. Defendants tell customers that if
   12 they use the Dragon Box Service, it will “make it effortless to find what you want to
   13 watch,” without having to pay the full cost for that content. DeSanctis Decl. Ex.
   14 CC. Defendants advertise its service as costing only a fraction of legitimate cable
   15 television packages, but somehow offering more—and premium—content.
   16         Given the obviously infringing nature of BlendTV and My TV Hub and
   17 Defendants’ own history of unlawfully exploiting Plaintiffs’ Copyrighted Works,
   18 Defendants cannot plausibly assert that their conduct is innocent. The best that
   19 could be said of Defendants’ continued wrongful conduct is that they intentionally
   20 ignored the infringing nature of these services, but “[w]illful blindness is
   21 knowledge, in copyright law … as it is in the law generally.” In re Aimster
   22 Copyright Litig., 334 F.3d 643, 650 (7th Cir. 2003). After knowingly inducing
   23 infringement for a “fun 5 years,” (DeSanctis Decl. Ex. G), Defendants’ apparent
   24 failure to make any meaningful “attempt to check or inquire into” whether Plaintiffs
   25 had authorized BlendTV’s use of Plaintiffs’ Copyrighted Works is more than
   26 “sufficient evidence of willful infringement.” Unicolors, Inc. v. Urban Outfitters,
   27 Inc., 853 F.3d 980, 991 (9th Cir. 2017); see Aimster, 334 F.3d at 650 (“One who,
   28 knowing or strongly suspecting that he is involved in shady dealings, takes steps to
                                               -17-
                                     PLAINTIFFS’ APPLICATION FOR TEMPORARY RESTRAINING ORDER
                                                                CASE NO. 2:18-CV-000230 - MWF (AS)
Case 2:18-cv-00230-MWF-AS Document 46 Filed 12/20/18 Page 23 of 28 Page ID #:409




    1 make sure that he does not acquire full or exact knowledge of the nature and extent
    2 of those dealings is held to have a criminal intent.”). That Defendants have now
    3 switched to an essentially identical service, My TV Hub evinces Defendants flagrant
    4 disregard for Plaintiffs’ rights and the copyright laws.
    5         Third, Defendants have “show[n] [themselves] to be aiming to satisfy a
    6 known source of demand for copyright infringement”: their own customers who
    7 previously used Defendants’ curated, illicit addons to stream infringing content.
    8 Grokster, 545 U.S. at 939. Having been forced to cease their promotion of illicit
    9 addons such as “Covenant,” Defendants now tell Dragon Box customers that “the
   10 content will be there plus more” if they just subscribe to My TV Hub and continue
   11 using the Dragon Box Service. See supra Part __. This substitution of one
   12 infringing source of content for another is business-as-usual for Defendants, and
   13 unmistakable evidence of Defendants’ intent to induce infringement.
   14         Fourth, there is no evidence that Defendants have taken any steps “to develop
   15 filtering tools or other mechanisms to diminish the infringing activity” by their
   16 customers. Grokster, 545 U.S. at 939. This fact accords with Defendants’
   17 infringement-related profits: Defendants “undoubtedly sold” and continue to sell
   18 “more Devices than [they] otherwise would have as a result of affirmatively
   19 advertising it as a means of accessing unauthorized content.” TickBox, 2018 WL
   20 1568698, at *11. This also “corroborate[s] the conclusion that [Defendants] ‘acted
   21 with a purpose to cause copyright violations by use of’ [their] services.” Fung, 710
   22 F.3d at 1036 (quoting Grokster, 545 U.S. at 938).
   23                      (d)   The Dragon Box Service Causes Infringement
   24         Plaintiffs likewise satisfy the causation element. “[I]f one provides a service
   25 that could be used to infringe copyrights, with the manifested intent that the service
   26 actually be used in that manner, that person is liable for the infringement that occurs
   27 through the use of the service.” Fung, 710 F.3d at 1037. “[T]he only causation
   28 requirement is that the product or service at issue was used to infringe the plaintiff’s
                                                -18-
                                     PLAINTIFFS’ APPLICATION FOR TEMPORARY RESTRAINING ORDER
                                                                CASE NO. 2:18-CV-000230 - MWF (AS)
Case 2:18-cv-00230-MWF-AS Document 46 Filed 12/20/18 Page 24 of 28 Page ID #:410




    1 copyrights.” Id. The “culpable act is not merely the encouragement of infringement
    2 but also the distribution of the tool intended for infringing use.” Grokster, 545 U.S.
    3 at 940, n.13.
    4         Defendants promote and distribute the Dragon Box Service for infringing use,
    5 and that is exactly the use to which the service is put. Defendants sell Dragon Box
    6 devices and subscriptions to My TV Hub promising access to “65 Live US TV
    7 Channels,” and “500,000+ movies and TV episodes from top free and paid
    8 channels” for only $39.95 per month. DeSanctis Decl. Ex. K, L, CC. As for
    9 customers who purchased Dragon Box devices based on pre-lawsuit promises of
   10 access to illicit addons for Kodi, Defendants implore them to “please try” My TV
   11 Hub, promising that customers “will not be disappointed.” Id. Ex. P. Dragon Box
   12 customers then use the device and service for exactly that purpose, i.e., to engage in
   13 unauthorized streaming of Copyrighted Works. Defendants’ conduct causes
   14 infringement. See Grokster, 545 U.S. at 940; Fung, 710 F.3d at 1037.
   15         B.      Defendants Causing Irreparable Harm
   16         Defendants are causing Plaintiffs irreparable harm. See Kaplan Decl. ¶¶ 12-
   17 31.
   18         First, by inducing unauthorized streaming, Defendants deprive Plaintiffs of
   19 their exclusive rights to control how, when, and to whom they will disseminate their
   20 Copyrighted Works. See Harper & Row Publishers, Inc. v. Nation Enters., 471 U.S.
   21 539, 546 (1985) (“The rights conferred by copyright are designed to assure
   22 contributors to the store of knowledge a fair return for their labors.”); Zediva, 824 F.
   23 Supp. 2d at 1012-13 (defendants’ unauthorized streaming “interfere[s] with
   24 Plaintiffs’ ability to control the use and transmission of their Copyrighted Works,
   25 thereby causing irreparable injury.”).
   26         Second, the availability of infringing copies of the Copyrighted Works for
   27 streaming from unauthorized sources via the Dragon Box Service inevitably and
   28 irreparably undermines the legitimate market in which consumers can purchase
                                              -19-
                                     PLAINTIFFS’ APPLICATION FOR TEMPORARY RESTRAINING ORDER
                                                                CASE NO. 2:18-CV-000230 - MWF (AS)
Case 2:18-cv-00230-MWF-AS Document 46 Filed 12/20/18 Page 25 of 28 Page ID #:411




    1 access to the same works, into which Plaintiffs have invested significantly. See e.g.,
    2 Grokster, 545 U.S. at 928-29 (discussing harms from unauthorized distribution of
    3 copyrighted works); China Cent. Television v. Create New Tech. (HK) Ltd., No. CV
    4 15-01869 MMM (MRWx), 2015 WL 3649187, at *13 (C.D. Cal. June 11, 2015)
    5 (infringing video streaming service caused irreparable harm because it “interfered
    6 with plaintiffs’ ability to develop a lawful market for internet distribution”);
    7 TickBox, 2018 WL 1568698, at *12-13; Kaplan Decl. ¶¶ 24-28. As evident from
    8 Defendants’ advertising campaign, Dragon Box intentionally competes with
    9 authorized and legitimate offerings, including authorized cable and broadcast
   10 networks and licensed VOD services. Defendants promote Dragon Box devices
   11 with My TV Hub subscriptions as a means for consumers to avoid the need to pay
   12 for subscriptions to legitimate offerings. Id.
   13        Third, Defendants threaten harm to Plaintiffs’ relationships and goodwill with
   14 authorized licensees, which further establishes irreparable harm. See Disney Enter.
   15 V. VidAngel, 869 F.3d 848, 866 (9th Cir. 2017) (“substantial evidence … that
   16 VidAngel’s service undermines the value of the Studios’ copyrighted works, their
   17 ‘windowing’ business model, and their goodwill and negotiating leverage with
   18 licensees”); Stuhlbarg Int’l Sales Co., 240 F.3d at 841 (“Evidence of threatened loss
   19 of prospective customers or goodwill certainly supports a finding of the possibility
   20 of irreparable harm.”); see also TickBox, 2018 WL 1568698, at *13 (“[I]nterference
   21 with relationships with distributors and licensees, and the undermining of the market
   22 and [plaintiff’s] business model more generally—have been recognized as
   23 sufficiently irreparable to support the issuance of a preliminary injunction.”); Fox
   24 Television Stations, Inc. v. BarryDriller Content Sys., PLC, 915 F. Supp. 2d 1138,
   25 1147 (C.D. Cal. 2012) (“availability of Plaintiffs’ content from sources other than
   26 Plaintiffs also damages Plaintiffs’ goodwill with their licensees.”); Zediva, 824 F.
   27 Supp. 2d at 1012-13 (unauthorized streaming “interfere[d] with … Plaintiffs’
   28 relationships, including the goodwill developed with their licensees”); FilmOn X,
                                               -20-
                                     PLAINTIFFS’ APPLICATION FOR TEMPORARY RESTRAINING ORDER
                                                                CASE NO. 2:18-CV-000230 - MWF (AS)
Case 2:18-cv-00230-MWF-AS Document 46 Filed 12/20/18 Page 26 of 28 Page ID #:412




    1 966 F. Supp. 2d at 49-50 (unauthorized streaming “damage[s Plaintiffs’] contractual
    2 relationships and ability to negotiate with authorized retransmitters,” causing
    3 irreparable harm); Kaplan Decl. ¶¶ 17-23.
    4         Fourth, money damages will not adequately compensate Plaintiffs for the loss
    5 of control over the Copyrighted Works, the damage to their business goodwill, and
    6 harm to the continued advancement of the legitimate online market for distribution
    7 of creative works. See TickBox, 2018 WL 1568698, at *13 (“[I]t is unlikely that
    8 money damages could adequately compensate for difficult-to-quantify harms to
    9 Plaintiffs’ business models and relationships” from unauthorized streaming); WPIX,
   10 Inc., 691 F.3d at 286 (unrestrained unauthorized Internet retransmissions of
   11 broadcast programming “would encourage” other services to follow suit, “weaken
   12 plaintiffs’ negotiating position,” adversely affect “quantity and quality of efforts put
   13 into creating” new works, and “drastically change the industry, to plaintiffs’
   14 detriment”); Zediva, 824 F. Supp. 2d at 1013 (same); Kaplan Decl. ¶¶ 15, 17, 21,
   15 23-25, 28-30.
   16         Money damages also are inadequate because there is no reasonable prospect
   17 that Defendants will be able to satisfy an award in this case. The statutory damages
   18 for each work infringed through Defendants’ willful inducement may be as much as
   19 $150,000. 17 U.S.C. § 504(c). Plaintiffs collectively own thousands of Copyrighted
   20 Works, a substantial number of which have been infringed as the result of
   21 Defendants’ illegal conduct. Defendants therefore will be responsible for a damages
   22 award far in excess of their ability to pay. See, e.g., BarryDriller Content Sys., 915
   23 F. Supp. 2d at 1147; Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 518 F.
   24 Supp. 2d 1197, 1217 (C.D. Cal. 2007) (“[A]n award of monetary damages will be
   25 meaningless, and the plaintiff will have no substantive relief, where it will be
   26 impossible to collect an award for past and/or future infringements perpetrated by a
   27 defendant.”).
   28
                                                 -21-
                                     PLAINTIFFS’ APPLICATION FOR TEMPORARY RESTRAINING ORDER
                                                                CASE NO. 2:18-CV-000230 - MWF (AS)
Case 2:18-cv-00230-MWF-AS Document 46 Filed 12/20/18 Page 27 of 28 Page ID #:413




    1          C.    The Balance of Hardships Strongly Favors Plaintiffs
    2          Whatever harm may come to the Defendants’ ability to induce infringement is
    3 far outweighed by the hardship Plaintiffs will face if the Court were to deny their
    4 application for a TRO and preliminary injunction. The absence of injunctive relief
    5 would result in the continued flagrant infringement of Plaintiffs’ rights. In contrast,
    6 Defendants would suffer no harm from being enjoined from engaging in unlawful
    7 conduct, consistent with the longstanding principle recently reaffirmed by the Ninth
    8 Circuit “that harm caused by illegal conduct does not merit significant equitable
    9 protection.” VidAngel, 869 F.3d at 867; see also Cadence Design Sys., Inc. v.
   10 Avant! Corp., 125 F.3d 824, 830 (9th Cir. 1997) (“[w]here the only hardship that the
   11 defendant will suffer is lost profits from an activity which has been shown likely to
   12 be infringing, such an argument in defense merits little equitable consideration. . . .”
   13 (quotations and citations omitted)); WPIX, 691 F.3d at 287 (“axiomatic that an
   14 infringer of copyright cannot complain about the loss of ability to offer its infringing
   15 product” (quotations and citations omitted)).
   16          D.    Enjoining Defendants’ Unlawful Conduct Will Advance the Public
                     Interest
   17
               “[T]he public has a compelling interest in protecting copyright owners’
   18
        marketable rights to their work and the economic incentive to continue creating
   19
        television programming and motion pictures.” VidAngel, 869 F.3d at 867
   20
        (quotations and citations omitted); see Eldred v. Ashcroft, 537 U.S. 186, 212 n.18
   21
        (2003) (“[t]he economic philosophy behind the [Copyright] [C]lause . . . is the
   22
        conviction that encouragement of individual effort by personal gain is the best way
   23
        to advance public welfare through the talents of authors and inventors” (emphasis
   24
        added)). Enjoining Defendants’ illegal conduct thus plainly furthers the public
   25
        interest.
   26
   27
   28
                                                 -22-
                                     PLAINTIFFS’ APPLICATION FOR TEMPORARY RESTRAINING ORDER
                                                                CASE NO. 2:18-CV-000230 - MWF (AS)
Case 2:18-cv-00230-MWF-AS Document 46 Filed 12/20/18 Page 28 of 28 Page ID #:414




    1 IV.   CONCLUSION
    2       Plaintiffs respectfully request that the Court enter the proposed TRO
    3 immediately and issue an Order to Show Cause Why a Preliminary Injunction
    4 Should Not Issue.
    5
    6 DATED: December 20, 2018            MUNGER, TOLLES & OLSON LLP
    7
    8
                                          By:        /s/ Kelly M. Klaus
    9
                                              KELLY M. KLAUS
   10                                     Attorneys for Plaintiffs
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                                  PLAINTIFFS’ APPLICATION FOR TEMPORARY RESTRAINING ORDER
                                                             CASE NO. 2:18-CV-000230 - MWF (AS)
